Case 4:18-cV-01263 Document 18 Filed in TXSD on 05/24/18 Page 1 of 5

Pro Se 3 (Rev, 12/16) The Defendant’s Answer to the Complaint

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FlL

UNITED STATES DISTRICT CoURiMAY 2 4 2013

Southern District of Texas

for the
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w DiViSiOn

ANGEL FLORES, CESAR HERNANDEZ, DEBORAH
RlVERA, LAURA LOZOYA, and SALLY A MART|NEZ
individually and On Beha|f of A|| Others Simi|ar|y
, Siti 1219,€7 a

Plaintiff(s)

(Write the full name of each plaintiff who isfiling this complaint
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached " in the space and attach an additional
page with the full list of names )

_v-

JBM JAN|TOR|AL MA|NTENANCE, lNC. KRC
FLOOR MA|NTENANCE, lNC. V|RlD|ANA GARC|A
A/K/A V|RIDIANA MARTINEZ, RAFAEL V

, ,_ , ,,, MARILL\Ll=l £¢¢.'
Defendant(s)
(Write the full name of each defendant who is being sued lf the
names of all the defendants Cannotfit in the space above, please
write "see attached " in the space and attach an additional page
with the full list of names. )

'N¢?,

4:18-cv-01263
(to be filled in by the Clerk's Ojice)

Case No.

 

Jlll'y Trlalf (check one) Y€S m NO

THE DEFENDANT’S ANSWER TO THE COMPLAINT

 

 

 

 

 

 

I. The Parties Filing This Answer to the Complaint
Provide the information below for each defendant filing this answer or other response to the allegations in the
plaintiffs complaint. Attach additional pages if needed
Name Rafae| Martinez
Street Address 7002 hliiiegofo St j ii
City and COuIlty Houston if il jj j ii ii / j i)
State and Zip Code Texas 77020 j j
Telephone Number Cei|:832-262-5050 j j ¥Wi ii’" rrrrr f
E-mail Address hrc.rafae|@gmai|.com fw j ) j j 1
II. The Answer and Defenses to the Complaint

A. Answering the Claims for Relief

On a separate page or pages, write a short and plain statement of the answer to the allegations in the
complaint Number the paragraphs. The answer should correspond to each paragraph in the complaint,
with paragraph 1 of the answer corresponding to paragraph l of the complaint, etc. For each paragraph
in the complaint, state whether: the defendant admits the allegations in that paragraph; denies the
allegations; lacks sufficient knowledge to admit or deny the allegations; or admits certain allegations
but denies, or lacks sufficient knowledge to admit or deny, the rest.

Page 1 of 4

Case 4:18-cV-01263 Document 18 Filed in TXSD on 05/24/18 Page 2 of 5

1. ANSWER

COMES NOW defendant RAFAEL V. MARTINEZ in the above-captioned cause
of action and answers the Complaint of Plaintiff by generally denying all of the
allegations in the Complaint, except as may be specifically admitted or deny bellow
referring to paragraphs and/or Sections as numbered by Plaintiffs Complain and
pertaining to the Defendant (referred from here forward as “R. Martinez”).

Nature of Suit
Defendant (R. Martinez) is without sufficient knowledge to either admit or deny
the allegations contained therein and therefore denies same and leaves Plaintiff to its
proof

Jurisdiction & Venue
Defendant (R. Martinez) admits he resides in the Houston Division of the
Southern District of Texas. Defendant is without sufficient knowledge to either admit
or deny the allegations contained therein and therefore denies same and leaves
Plaintiff to its proof.

Parties

Defendant (R. Martinez) is without sufficient knowledge to either admit or deny
the allegations contained therein and therefore denies same and leaves Plaintiff to its
proof.

Facts

Defendant (R. Martinez) denies any liability incurred from JBM. Defendant was a
Contractor and a Field Supervisor. Defendant’s duties as a field supervisor were to go
check employees work and see if any machinery needed repair. Defendant (R. Martinez)
as a contractor would do floor Work and janitorial services. Defendant (R. Martinez) did
not made decisions with JBM’S operations because Defendant was a Contractor taking
care of his own company. Defendant (R. Martinez) was hardly in the JBM office.
Regarding the remainder of the allegations, defendant is without sufficient knowledge to
either admit or deny the allegations contained therein and therefore denies same and
leaves Plaintiff to its proof.

 

Answer Comp|iant
Defendant R. Martinez Page 2

Case 4:18-cV-01263 Document 18 Filed in TXSD on 05/24/18 Page 3 of 5

Count One-Failure to pay the Minimum Wage

Defendant (R. MARTINEZ) is without sufficient knowledge to either admit or deny the
allegations contained therein and therefore denies same and leaves Plaintiff to its proof.

Count Two- failure to pay Overtime

Defendant (R. MARTINEZ) is Without sufficient knowledge to either admit or deny the
allegations contained therein and therefore denies same and leaves Plaintiff to its proof.

Count Three- Failure to Maintain Accurate Records

Defendant (R. MARTINEZ) is Without sufficient knowledge to either admit or deny the
allegations contained therein and therefore denies same and leaves Plaintiff to its proof.

.Count Four-Collective Action Allegations

Defendant (R. MARTINEZ) is without sufficient knowledge to either admit or deny the
allegations contained therein and therefore denies same and leaves Plaintiff to its proof.

Jui_'y by Trail

Defendant (R. MARTINEZ) is without sufficient knowledge to either admit or deny the
allegations contained therein and therefore denies same and leaves Plaintiff to its pro

Prayer

Having completed the Answer to the complaint, Defendant (R. MARTINEZ) is without
sufficient knowledge to either admit or deny the allegations contained therein and
therefore denies same and leaves Plaintiff to its proof.

WHEREFORE, Defendant prays for relief as follows:

l. The complaint against Defendant be dismissed

2. I ask for court cost.

3. l ask for such other and further relief, at law or in equity, to which I may be justly
entitled

 

Answer Complaint
Defendant R. Martinez Page 3

Case 4:18-cV-01263 Document 18 Filed in TXSD on 05/24/18 Page 4 of 5

I, Rafael Martinez hereby attest that the herein answers are true and correct to best of my
knowledge

Party Without an Attorney

l agree to provide the prospective agencies with any changes to my address where case-
related papers may be served. I understand that my failure to provide to keep a current
address on file with the prospective offices may result in the dismissal of my case.

Date of signing S/KB&d/H

Signature of Defendant

Printed Name of Defendant MMT//VE;

 

Answer Complaint
Defendant R. Martinez Page 4

Case 4:18-cV-01263 Document 18 Filed in TXSD on 05/24/18 Page 5 of 5

Certificate of Service

l certify that a copy of this document Was delivered to the Plaintiffs lawyer or the Plaintiff (if the
Plaintiff does not have a |awyer) on the same day this document Was filed With (turned in to) the
Court as follows: (Check one.)

El through the electronic file manager if this document is being filed electronically
l:l by certified mai|, return receipt requested

l:] by fax, to fax #
g by personal delivery

 

[] by email to this email address:

 

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' is §/'gyture Date

